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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                        )
   Trading Technologies International, Inc.,            )
                                                        ) Civil Action No. 04 C 5312
                          Plaintiff,                    )
                                                        ) Judge: James B. Moran
          v.                                            )
                                                        ) Magistrate: Sidney I. Schenkier
   eSpeed, Inc., eSpeed International, Ltd.,            )
   Ecco LLC, and EccoWare Ltd.,                         )
                                                        )
                          Defendants.                   )
                                                        )


      PLAINTIFF TRADING TECHNOLOGIES’ RESPONSE TO DEFENDANTS
       eSPEED AND ECCO’S SECOND SET OF REQUESTS FOR ADMISSION

          Pursuant to Fed. R. Civ. P. 26 and 36, Plaintiff, Trading Technologies

   International, Inc. (“TT”) responds to Defendants eSpeed, Inc., eSpeed International, Ltd.,

   Ecco LLC, and EccoWare Ltd., ("eSpeed") Second Set of Requests for Admission (1-162)

   as follows:
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                                    GENERAL OBJECTIONS

           1.     TT objects to eSpeed's Requests for Admission to the extent that they seek

   information protected by the attorney-client privilege, work product immunity, or any

   other applicable privilege or immunity. In the following responses and any production

   hereunder, such privileged information is excluded.

           2.     TT objects to eSpeed's Requests for Admission to the extent that they are

   vague, ambiguous, do not identify with particularity the information sought, or are

   otherwise incomprehensible.

           3.     TT objects to eSpeed's Requests for Admission to the extent that they are

   overbroad or unduly burdensome in that the burden or expense of the proposed discovery

   outweighs its likely benefit.

           4.     TT objects to eSpeed's Requests for Admission to the extent that they seek

   information that is neither relevant to a claim, counterclaim, or defense of any party, nor

   reasonably calculated to lead to the discovery of admissible evidence.

           5.     TT objects to eSpeed's Requests for Admission to the extent that they

   attempt to impose duties upon TT greater that those required by the Federal Rules of

   Civil Procedure and/or the Local Rules for the Northern District of Illinois.

           6.     TT objects to eSpeed's Requests for Admission to the extent that they

   require any information beyond what is available to TT at present from a reasonable

   search of its own files and/or reasonable inquiry of their present employees.

           7.     TT objects to the identification of information in the possession or control

   of TT for which TT is obligated to a third party to maintain in confidence.




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          8.        TT objects to answering eSpeed's Requests for Admission to the extent that

   the answer may be derived or ascertained from TT's business records. In such cases, TT

   reserves the right to produce documents pursuant to Rule 33(d) of the Federal Rules of Civil

   Procedure, subject to any applicable objections.

          9.        TT objects to eSpeed’s definition of the term “You” as overly broad, unduly

   burdensome, and not reasonably calculated to lead to the discovery of admissible evidence

   to the extent it includes every person who has every worked at or for TT in any capacity.

          10.       TT objects to the terms “MD Trader”, “a version of the MD Trader

   software”, and “a version of the software that later became known as MD Trader” as vague

   and undefined.

          11.       TT objects to the term “user” as vague and undefined.

          12.       TT objects to eSpeed’s requests to the extent that those requests purport to

   require TT to admit or deny the authenticity, foundation, admissibility, etc. of non-TT

   documents, things, or electronically stored information. TT denies those requests.

          13.       TT objects to eSpeed’s requests to the extent that those requests purport to

   require TT to admit or deny the authenticity, foundation, admissibility, etc. of multiple

   documents and things as one single “document” or “thing”. TT denies those requests.

          14.       TT objects to eSpeed’s requests to the extent that those requests purport to

   require TT to admit or deny the authenticity, foundation, admissibility, etc. of entire

   purported categories or types of documents or things where those types or categories are

   undefined and where the specific documents or things at issue have not been identified. TT

   denies those requests.




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                                  GENERAL STATEMENTS


           1.     TT's responses to eSpeed's Requests for Admission are all made subject to

   and without waiver of the foregoing General Objections. To the extent that TT cites a

   particular General Objection in a response to a request for admission, TT does so because

   it believes that the General Objection is particularly relevant to the request for admission.

           2.     TT reserves the right to supplement and/or amend its responses pursuant

   to Rule 26(e) of the Federal Rules of Civil Procedure.




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                                  REQUESTS FOR ADMISSION

   REQUEST NO. 1:

          The video clips on the DVD labeled HB00001 are authentic, satisfying the
   requirements of federal Rule of Evidence 901(a).

   RESPONSE TO REQUEST NO. 1:

          TT admits that the video remnants on the DVD labeled HB00001 are authentic,

   satisfying the requirements of Federal Rule of Evidence 901(a).


   REQUEST NO. 2:

          The video clips on the DVD labeled HB00001 were produced in this litigation by
   Harris Brumfield.

   RESPONSE TO REQUEST NO. 2:

          TT admits that the video remnants on the DVD labeled HB00001 were produced

   in this litigation by Harris Brumfield.


   REQUEST NO. 3:

          The video clips on the DVD labeled HB00001 were produced in this litigation by
   The Partnership LLC.

   RESPONSE TO REQUEST NO. 3

          Denied.

   REQUEST NO. 4:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes from the files of Harris Brumfield.

   RESPONSE TO REQUEST NO. 4:




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          TT admits that the video remnants on the DVD labeled HB00001 were taken from

   one or more video tapes from the files of Harris Brumfield.


   REQUEST NO. 5:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes from the files of The Partnership LLC.

   RESPONSE TO REQUEST NO. 5:

          Denied.


   REQUEST NO. 6:

          The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes maintained by Harris Brumfield in the ordinary course of his business.

   RESPONSE TO REQUEST NO. 6:

          Denied.

   REQUEST NO. 7:

          The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes maintained by The Partnership L LC in the ordinary course of its business.

   RESPONSE TO REQUEST NO. 7:

          Denied.

   REQUEST NO. 8:

         The video clips on the DVD labeled HB00001 are business records of Harris
   Brumfield that satisfy the requirements of Federal Rule of Evidence 803(6).

   RESPONSE TO REQUEST NO. 8:

          Denied.

   REQUEST NO. 9:

          The video clips on the DVD labeled HB00001 are business records of The
   Partnership LLC that satisfy the requirements of Federal Rule of Evidence 803(6).



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   RESPONSE TO REQUEST NO. 9:

          Denied.

   REQUEST NO. 10:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded by or at the direction of Harris Brumfield.

   RESPONSE TO REQUEST NO. 10:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of the request, and therefore

   TT denies it.


   REQUEST NO. 11:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded by or at the direction of The Partnership LLC.

   RESPONSE TO REQUEST NO. 11:

          Denied.

   REQUEST NO. 12:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded sometime in 1999.

   RESPONSE TO REQUEST NO. 12:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of Request No. 12, and

   therefore TT denies it.


   REQUEST NO. 13:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded sometime before June 1, 1999.



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   RESPONSE TO REQUEST NO. 13:

           After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of Request No. 13, and

   therefore TT denies it.

   REQUEST NO. 14:


          The video clips on the DVD labeled HB00001 were taken from one or
   more video tapes recorded in the months noted in the titles for the video clips. (E.g., the
   video clip titled "February 17, 1999?” was taken from a video tape recorded in February
   1999.)

   RESPONSE TO REQUEST NO. 14:

           After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of Request No. 14, and

   therefore TT denies it.

   REQUEST NO. 15:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded in the dates noted in the titles for the video clips. (E.g., the video clip titled
   "February 17, 1999?" was taken from a video tape recorded on February 17, 1999.)

   RESPONSE TO REQUEST NO. 15:

           After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of this Request, and therefore

   TT denies it.

   REQUEST NO. 16:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded while the CBOT was open for electronic trading.

   RESPONSE TO REQUEST NO. 16:




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          Denied.

   REQUEST NO. 17:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded while the CME was open for electronic trading.

   RESPONSE TO REQUEST NO. 17:

          Denied.

   REQUEST NO. 18:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded while the LIFFE was open for electronic trading.

   RESPONSE TO REQUEST NO. 18:

          Denied.


   REQUEST NO. 19:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes recorded while the EUREX was open for electronic trading.

   RESPONSE TO REQUEST NO. 19:

          Denied.


   REQUEST NO. 20:

         The video clips on the DVD labeled HB00001 show a monitor connected to a
   computer then located at the offices of Harris Brumfield.

   RESPONSE TO REQUEST NO. 20:

          Denied.

   REQUEST NO. 21:

          The video clips on the DVD labeled HB00001 show a monitor connected
   to a computer then located at the offices of The Partnership LLC.

   RESPONSE TO REQUEST NO. 21:



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          Denied.

   REQUEST NO. 22:

          The video clips on the DVD labeled HB00001 show a monitor connected
   to a computer then belonging to Harris Brumfield.

   RESPONSE TO REQUEST NO. 22:

          Denied.

   REQUEST NO. 23:

          The video clips on the DVD labeled HB00001 show a monitor connected
   to a computer then belonging to The Partnership LLC.

   RESPONSE TO REQUEST NO. 23:

          Denied.

   REQUEST NO. 24:

          The video clips on the DVD labeled HB00001 show a monitor connected
   to a computer that was used by Harris Brumfield.

   RESPONSE TO REQUEST NO. 24:

          Denied.

   REQUEST NO. 25:

         The video clips on the DVD labeled HB00001 show a monitor connected to a
   computer that was used by Harris Brumfield to trade electronically.

   RESPONSE TO REQUEST NO. 25:

          Denied.

   REQUEST NO. 26:

          The video clips on the DVD labeled HB00001 show are an accurate reflection of
   what was displayed on the monitor at the time the particular video tape (from which each
   video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 26:



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          TT objects to this request as vague and incomprehensible, and therefore denies it.


   REQUEST NO. 27:

         The video clips on the DVD labeled HB00001 show a monitor connected to a
   computer running a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 27:

          Denied.


   REQUEST NO. 28:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes showing a monitor connected to a computer running a version of the MD Trader
   software at the time the particular video tape (from which each video clip was taken) was
   recorded.

   RESPONSE TO REQUEST NO. 28:

          Denied.

   REQUEST NO. 29:

         The video clips on the DVD labeled HB00001 show a monitor connected to a
   computer running a version of the software that later became known as MD Trader.

   RESPONSE TO REQUEST NO. 29:

          Denied.


   REQUEST NO. 30:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes showing a monitor connected to a computer running a version of the software that
   later became known as MD Trader at the time the particular video tape (from which each
   video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 30:

          Denied.




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   REQUEST NO. 31:

         The video clips on the DVD labeled HB00001 show a monitor connected to a
   computer running a version of the MD Trader software connected to a live market.

   RESPONSE TO REQUEST NO. 31:

          Denied.

   REQUEST NO. 32:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes showing a monitor connected to a computer running a version of the MD Trader
   software connected to a live market at the time the particular video tape (from which each
   video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 32:

          Denied.


   REQUEST NO. 33:

          The video clips on the DVD labeled HB00001 show a monitor connected to a
   computer running a version of the software that later became known as MD Trader
   connected to a live market.

   RESPONSE TO REQUEST NO. 33:

          Denied.

   REQUEST NO. 34:

           The video clips on the DVD labeled HB00001 were taken from one or more video
   tapes showing a monitor connected to a computer running a version of the software that
   later became known as MD Trader connected to a live market at the time the particular
   videotape (from which each video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 34:

          Denied.


   REQUEST NO. 35:




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           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders using a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 35:

          Denied.

   REQUEST NO. 36:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders using a version of the MD Trader
   software at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 36:

          Denied.

   REQUEST NO. 37:

           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders using a version of the software that later became known as MD Trader.

   RESPONSE TO REQUEST NO. 37:

          Denied.

   REQUEST NO. 38:

         The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders using a version of the software that later
   became known as MD Trader at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 38:

          Denied.

   REQUEST NO. 39:

           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders on a live market using a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 39:

          Denied.

   REQUEST NO. 40:



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         The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders on a live market using a version of the
   MD Trader software at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 40:

          Denied.

   REQUEST NO. 41:

           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders on a live market using a version of the software that later became known as
   MD Trader.

   RESPONSE TO REQUEST NO. 41:

          Denied.

   REQUEST NO. 42:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders on a live market using a version of the
   software that later became known as MD Trader at the time and date that the video tape
   was recorded.

   RESPONSE TO REQUEST NO. 42:

          Denied.

   REQUEST NO. 43:

          The video clip on the DVD labeled HB000003 is authentic, satisfying the
   requirements of Federal Rule of Evidence 901(a).

   RESPONSE TO REQUEST NO. 43:

          TT admits that the video remnant on the DVD labeled HB000003 is authentic,

   satisfying the requirements of Federal Rule of Evidence 901(a).


   REQUEST NO. 44:

          The video clip on the DVD labeled HB000003 was produced in this litigation by
   Harris Brumfield.



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   RESPONSE TO REQUEST NO. 44:

          TT admits that the video remnant on the DVD labeled HB000003 was produced

   in this litigation by Harris Brumfield.

   REQUEST NO. 45:

          The video clip on the DVD labeled HB000003 was produced in this litigation by
   The Partnership LLC.

   RESPONSE TO REQUEST NO. 45:

          Denied.

   REQUEST NO. 46:

           The video clip on the DVD labeled HB000003 was taken from a video
   tape from the files of Harris Brumfield.

   RESPONSE TO REQUEST NO. 46:

          TT admits that the video remnant on the DVD labeled HB000003 was taken from

   a video tape from the files of Harris Brumfield.


   REQUEST NO. 47:

            The video clip on the DVD labeled HB000003 was taken from a video tape from
   the files of The Partnership LLC.

   RESPONSE TO REQUEST NO. 47:

          Denied.

   REQUEST NO. 48:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   maintained by Harris Brumfield in the ordinary course of his business.

   RESPONSE TO REQUEST NO. 48:

          Denied.




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   REQUEST NO. 49:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   maintained by The Partnership LLC in the ordinary course of its business.

   RESPONSE TO REQUEST NO. 49:

          Denied.


   REQUEST NO. 50:

         The video clip on the DVD labeled HB000003 is a business record of Harris
   Brumfield that satisfies the requirements of Federal Rule of Evidence 803(6).

   RESPONSE TO REQUEST NO. 50:

          Denied.

   REQUEST NO. 51:

          The video clip on the DVD labeled HB000003 is a business record of The
   Partnership LLC that satisfies the requirements of Federal Rule of Evidence 803(6).

   RESPONSE TO REQUEST NO. 51:

          Denied.

   REQUEST NO. 52:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded by or at the direction of Harris Brumfield.

   RESPONSE TO REQUEST NO. 52:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of this request, and therefore

   TT denies it.

   REQUEST NO. 53:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded by or at the direction of The Partnership LLC.



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   RESPONSE TO REQUEST NO. 53:

          Denied.

   REQUEST NO. 54:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded sometime in 1999.

   RESPONSE TO REQUEST NO. 54:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 55:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded sometime before June 1, 1999.

   RESPONSE TO REQUEST NO. 55:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 56:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded sometime in March 1999.

   RESPONSE TO REQUEST NO. 56:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 57:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded on March 15, 1999.

   RESPONSE TO REQUEST NO. 57:



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          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 58:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded between 8:30 am and 4:30 pm central time on March 15, 1999.

   RESPONSE TO REQUEST NO. 58:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 59:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded while the CBOT was open for electronic trading on March 15, 1999.

   RESPONSE TO REQUEST NO. 59:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 60:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded while the CME was open for electronic trading on March 15, 1999.

   RESPONSE TO REQUEST NO. 60:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 61:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded while the LIFFE was open for electronic trading on March 15, 1999.



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   RESPONSE TO REQUEST NO. 61:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 62:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   recorded while the EUREX was open for electronic trading on March 15, 1999.

   RESPONSE TO REQUEST NO. 62:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 63:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer then located at the offices of Harris Brumfield.

   RESPONSE TO REQUEST NO. 63:

          Denied.

   REQUEST NO. 64:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer then located at the offices of The Partnership LLC.

   RESPONSE TO REQUEST NO. 64:

          Denied.

   REQUEST NO. 65:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer then belonging to Harris Brumfield.

   RESPONSE TO REQUEST NO. 65:

          Denied.

   REQUEST NO. 66:



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         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer then belonging to The Partnership LLC.

   RESPONSE TO REQUEST NO. 66:

          Denied.

   REQUEST NO. 67:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer that was used by Harris Brumfield.

   RESPONSE TO REQUEST NO. 67:

          Denied.

   REQUEST NO. 68:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer that was used by Harris Brumfield to trade electronically.

   RESPONSE TO REQUEST NO. 68:

          Denied.


   REQUEST NO. 69:

          The video clip on the DVD labeled HB000003 is an accurate reflection of what
   was displayed on the monitor at the time the video tape (from which the video clip was
   taken) was recorded.

   RESPONSE TO REQUEST NO. 69:

          TT objects to this request as vague and incomprehensible. Because TT cannot

   understand it, TT denies it.

   REQUEST NO. 70:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer running a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 70:




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          Denied.

   REQUEST NO. 71:

            The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a monitor connected to a computer running a version of the MD Trader software
   at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 71:

          Denied.

   REQUEST NO. 72:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer running a version of the software that later became known as MD Trader.

   RESPONSE TO REQUEST NO. 72:

          Denied.

   REQUEST NO. 73:

         The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a monitor connected to a computer running a version of the software that later
   became known as MD Trader at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 73:

          Denied.

   REQUEST NO. 74:

         The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer running a version of the MD Trader software connected to a live market.

   RESPONSE TO REQUEST NO. 74:

          Denied.

   REQUEST NO. 75:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a monitor connected to a computer running a version of the MD Trader software
   connected to a live market at the time and date that the video tape was recorded.




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   RESPONSE TO REQUEST NO. 75:

          Denied.

   REQUEST NO. 76:

          The video clip on the DVD labeled HB000003 shows a monitor connected to a
   computer running a version of the software that later became known as MD Trader
   connected to a live market.

   RESPONSE TO REQUEST NO. 76:

          Denied.

   REQUEST NO. 77:

           The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a monitor connected to a computer running a version of the software that later
   became known as MD Trader connected to a live market at the time and date that the
   video tape was recorded.

   RESPONSE TO REQUEST NO. 77:

          Denied.

   REQUEST NO. 78:

           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders using a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 78:

          Denied.

   REQUEST NO. 79:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders using a version of the MD Trader
   software at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 79:

          Denied.

   REQUEST NO. 80:




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           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders using a version of the software that later became known as MD Trader.

   RESPONSE TO REQUEST NO. 80:

          Denied.

   REQUEST NO. 81:

         The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders using a version of the software that later
   became known as MD Trader at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 81:

          Denied.

   REQUEST NO. 82:

           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders on a live market using a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 82:

          Denied.

   REQUEST NO. 83:

         The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders on a live market using a version of the
   MD Trader software at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 83:

          Denied.

   REQUEST NO. 84:

           The video clip on the DVD labeled HB000003 shows a user sending one or more
   trade orders on a live market using a version of the software that later became known as
   MD Trader.

   RESPONSE TO REQUEST NO. 84:

          Denied.




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   REQUEST NO. 85:

          The video clip on the DVD labeled HB000003 was taken from a video tape
   showing a user sending one or more trade orders on a live market using a version of the
   software that later became known as MD Trader at the time and date that the video tape
   was recorded.

   RESPONSE TO REQUEST NO. 85:

          Denied.

   REQUEST NO. 86:

          The video clip on the DVD labeled HB000004 is authentic, satisfying the
   requirements of Federal Rule of Evidence 901(a).

   RESPONSE TO REQUEST NO. 86:

          Admitted.

   REQUEST NO. 87:

          The video clip on the DVD labeled HB000004 was produced in this litigation by
   Harris Brumfield.

   RESPONSE TO REQUEST NO. 87:

          Admitted.

   REQUEST NO. 88:

          The video clip on the DVD labeled HB000004 was produced in this litigation by
   The Partnership LLC.

   RESPONSE TO REQUEST NO. 88:

          Denied.

   REQUEST NO. 89:

           The video clip on the DVD labeled HB000004 was taken from a video tape from
   the files of Harris Brumfield.

   RESPONSE TO REQUEST NO. 89:

          Admitted.



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   REQUEST NO. 90:

            The video clip on the DVD labeled HB000004 was taken from a video tape from
   the files of The Partnership LLC.

   RESPONSE TO REQUEST NO. 90:

          Denied.

   REQUEST NO. 91:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   maintained by Harris Brumfield in the ordinary course of his business.

   RESPONSE TO REQUEST NO. 91:

          Denied.

   REQUEST NO. 92:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   maintained by The Partnership LLC in the ordinary course of its business.

   RESPONSE TO REQUEST NO. 92:

          Denied.

   REQUEST NO. 93:

         The video clip on the DVD labeled HB000004 is a business record of Harris
   Brumfield that satisfies the requirements of Federal Rule of Evidence 803(6).

   RESPONSE TO REQUEST NO. 93:

          Denied.

   REQUEST NO. 94:

          The video clip on the DVD labeled HB000004 is a business record of The
   Partnership LLC that satisfies the requirements of Federal Rule of Evidence 803(6).

   RESPONSE TO REQUEST NO. 94:

          Denied.




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   REQUEST NO. 95:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded by or at the direction of Harris Brumfield.

   RESPONSE TO REQUEST NO. 95:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of this request, and therefore

   TT denies it.


   REQUEST NO. 96:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded by or at the direction of The Partnership LLC.

   RESPONSE TO REQUEST NO. 96:

          Denied.

   REQUEST NO. 97:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded sometime in 1999.

   RESPONSE TO REQUEST NO. 97:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 98:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded sometime before June 1, 1999.

   RESPONSE TO REQUEST NO. 98:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 99:



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          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded sometime in March 1999.

   RESPONSE TO REQUEST NO. 99:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 100:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded on March 15, 1999.

   RESPONSE TO REQUEST NO. 100:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 101:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded between 8:30 am and 4:30 pm central time on March 15, 1999.

   RESPONSE TO REQUEST NO. 101:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 102:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded while the CBOT was open for electronic trading on March 15, 1999.

   RESPONSE TO REQUEST NO. 102:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 103:



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          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded while the CME was open for electronic trading on March 15, 1999.

   RESPONSE TO REQUEST NO. 103:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 104:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded while the LIFFE was open for electronic trading on March 15, 1999.

   RESPONSE TO REQUEST NO. 104:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 105:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   recorded while the EUREX was open for electronic trading on March 15, 1999.

   RESPONSE TO REQUEST NO. 105:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 106:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer then located at the offices of Harris Brumfield.

   RESPONSE TO REQUEST NO. 106:

          Denied.

   REQUEST NO. 107:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer then located at the offices of The Partnership LLC.



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   RESPONSE TO REQUEST NO. 107:

         Denied.

   REQUEST NO. 108:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer then belonging to Harris Brumfield.

   RESPONSE TO REQUEST NO. 108:

         Denied.

   REQUEST NO. 109:

          The video clip on the DVD labeled HB000004 shows a monitor connected
   to a computer then belonging to The Partnership LLC.

   RESPONSE TO REQUEST NO. 109:

         Denied.

   REQUEST NO. 110:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer that was used by Harris Brumfield.

   RESPONSE TO REQUEST NO. 110:

         Denied.

   REQUEST NO. 111:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer that was used by Harris Brumfield to trade electronically.

   RESPONSE TO REQUEST NO. 111:

         Denied.


   REQUEST NO. 112:




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          The video clip on the DVD labeled HB000004 is an accurate reflection of what
   was displayed on the monitor at the time the video tape (from which the video clip was
   taken) was recorded.

   RESPONSE TO REQUEST NO. 112:

          TT objects to this request as vague and incomprehensible, and therefore denies it.

   REQUEST NO. 113:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer running a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 113:

          Denied.

   REQUEST NO. 114:

            The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a monitor connected to a computer running a version of the MD Trader software
   at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 114:

          Denied.

   REQUEST NO. 115:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer running a version of the software that later became known as MD Trader.

   RESPONSE TO REQUEST NO. 115:

          Denied.

   REQUEST NO. 116:

         The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a monitor connected to a computer running a version of the software that later
   became known as MD Trader at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 116:

          Denied.




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   REQUEST NO. 117:

         The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer running a version of the MD Trader software connected to a live market.

   RESPONSE TO REQUEST NO. 117:

          Denied.

   REQUEST NO. 118:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a monitor connected to a computer running a version of the MD Trader software
   connected to a live market at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 118:

          Denied.


   REQUEST NO. 119:

          The video clip on the DVD labeled HB000004 shows a monitor connected to a
   computer running a version of the software that later became known as MD Trader
   connected to a live market.

   RESPONSE TO REQUEST NO. 119:

          Denied.

   REQUEST NO. 120:

           The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a monitor connected to a computer running a version of the software that later
   became known as MD Trader connected to a live market at the time and date that the
   video tape was recorded.

   RESPONSE TO REQUEST NO. 120:

          Denied.


   REQUEST NO. 121:

           The video clip on the DVD labeled HB000004 shows a user sending one or more
   trade orders using a version of the MD Trader software.



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   RESPONSE TO REQUEST NO. 121:

          Denied.

   REQUEST NO. 122:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a user sending one or more trade orders using a version of the MD Trader
   software at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 122:

          Denied.

   REQUEST NO. 123:

           The video clip on the DVD labeled HB000004 shows a user sending one or more
   trade orders using a version of the software that later became known as MD Trader.

   RESPONSE TO REQUEST NO. 123:

          Denied.

   REQUEST NO. 124:

         The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a user sending one or more trade orders using a version of the software that later
   became known as MD Trader at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 124:

          Denied.


   REQUEST NO. 125:

           The video clip on the DVD labeled HB000004 shows a user sending one or more
   trade orders on a live market using a version of the MD Trader software.

   RESPONSE TO REQUEST NO. 125:

          Denied.

   REQUEST NO. 126:




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         The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a user sending one or more trade orders on a live market using a version of the
   MD Trader software at the time and date that the video tape was recorded.

   RESPONSE TO REQUEST NO. 126:

          Denied.


   REQUEST NO. 127:

           The video clip on the DVD labeled HB000004 shows a user sending one or more
   trade orders on a live market using a version of the software that later became known as
   MD Trader.

   RESPONSE TO REQUEST NO. 127:

          Denied.

   REQUEST NO. 128:

          The video clip on the DVD labeled HB000004 was taken from a video tape
   showing a user sending one or more trade orders on a live market using a version of the
   software that later became known as MD Trader at the time and date that the video tape
   was recorded.

   RESPONSE TO REQUEST NO. 128:

          Denied.


   REQUEST NO. 129:

          The video clips on the DVD labeled HB000005 are authentic, satisfying the
   requirements of Federal Rule of Evidence 901(a).

   RESPONSE TO REQUEST NO. 129:

          TT admits that the video remnants on the DVD labeled HB000005 are authentic,

   satisfying the requirements of Federal Rule of Evidence 901(a).


   REQUEST NO. 130:




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          The video clips on the DVD labeled HB000005 were produced in this litigation
   by Harris Brumfield.

   RESPONSE TO REQUEST NO. 130:

          TT admits that the video remnants on the DVD labeled HB000005 were produced

   in this litigation by Harris Brumfield.


   REQUEST NO. 131:

          The video clips on the DVD labeled HB000005 were produced in this litigation
   by The Partnership LLC.

   RESPONSE TO REQUEST NO. 131:

          Denied.

   REQUEST NO. 132:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes from the files of Harris Brumfield.

   RESPONSE TO REQUEST NO. 132:

          TT admits that the video remnants on the DVD labeled HB000005 were taken

   from one or more video tapes from the files of Harris Brumfield.


   REQUEST NO. 133:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes from the files of The Partnership LLC.

   RESPONSE TO REQUEST NO. 133:

          Denied.

   REQUEST NO. 134:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes maintained by Harris Brumfield in the ordinary course of his business.

   RESPONSE TO REQUEST NO. 134:



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          Denied.

   REQUEST NO. 135:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes maintained by The Partnership LLC in the ordinary course of its business.

   RESPONSE TO REQUEST NO. 135:

          Denied.

   REQUEST NO. 136:

         The video clips on the DVD labeled HB000005 are business records of Harris
   Brumfield that satisfy the requirements of Federal Rule of Evidence 803(6).

   RESPONSE TO REQUEST NO. 136:

          Denied.

   REQUEST NO. 137:

          The video clips on the DVD labeled HB000005 are business records of The
   Partnership LLC that satisfy the requirements of Federal Rule of Evidence 803(6).

   RESPONSE TO REQUEST NO. 137:

          Denied.

   REQUEST NO. 138:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded by or at the direction of Harris Brumfield.

   RESPONSE TO REQUEST NO. 138:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the allegations of this request, and therefore

   TT denies it.

   REQUEST NO. 139:




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           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded by or at the direction of The Partnership LLC.

   RESPONSE TO REQUEST NO. 139:

          Denied.

   REQUEST NO. 140:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded sometime in 1999.

   RESPONSE TO REQUEST NO. 140:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 141:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded sometime before June 1, 1999.

   RESPONSE TO REQUEST NO. 141:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 142:

            The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded in the months noted in the titles for the video clips. (E.g., the video
   clip titled "March 16, 1999?" was taken from a video tape recorded in March 1999.)

   RESPONSE TO REQUEST NO. 142:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 143:

            The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded in the dates noted in the titles for the video clips. (E.g., the video
   clip titled "March 16, 1999?" was taken from a video tape recorded on March 16, 1999.)



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   RESPONSE TO REQUEST NO. 143:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 144:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded while the CBOT was open for electronic trading.

   RESPONSE TO REQUEST NO. 144:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 145:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded while the CME was open for electronic trading.

   RESPONSE TO REQUEST NO. 145:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 146:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded while the LIFFE was open for electronic trading.

   RESPONSE TO REQUEST NO. 146:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.

   REQUEST NO. 147:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes recorded while the 'EUREX was open for electronic trading.




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   RESPONSE TO REQUEST NO. 147:

          After making a reasonable inquiry, the information known and readily obtainable

   is insufficient to enable TT to admit or deny the request, therefore TT denies it.


   REQUEST NO. 148:

         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer then located at the offices of Harris Brumfield.

   RESPONSE TO REQUEST NO. 148:

          Denied.

   REQUEST NO. 149:

         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer then located at the offices of The Partnership LLC.

   RESPONSE TO REQUEST NO. 149:

          Denied.

   REQUEST NO. 150:

         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer then belonging to Harris Brumfield.

   RESPONSE TO REQUEST NO. 150:

          Denied.

   REQUEST NO. 151:

         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer then belonging to The Partnership LLC.

   RESPONSE TO REQUEST NO. 151:

          Denied.

   REQUEST NO. 152:




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         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer that was used by Harris Brumfield.

   RESPONSE TO REQUEST NO. 152:

          Denied.

   REQUEST NO. 153:

         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer that was used by Harris Brumfield to trade electronically.

   RESPONSE TO REQUEST NO. 153:

          Denied.

   REQUEST NO. 154:

          The video clips on the DVD labeled HB000005 show are an accurate reflection of
   what was displayed on the monitor at the time the particular video tape (from which each
   video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 154:

          Denied.

   REQUEST NO. 155:

         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer running a version of the MD Trader software.
   RESPONSE TO REQUEST NO. 155:

          Denied.

   REQUEST NO. 156:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes showing a monitor connected to a computer running a version of the MD
   Trader software at the time the particular video tape (from which each video clip was
   taken) was recorded.

   RESPONSE TO REQUEST NO. 156:

          Denied.

   REQUEST NO. 157:



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         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer running a version of the software that later became known as MD Trader.

   RESPONSE TO REQUEST NO. 157:

          Denied.

   REQUEST NO. 158:

            The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes showing a monitor connected to a computer running a version of the software
   that later became known as MD Trader at the time the particular video tape (from which
   each video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 158:

          Denied.

   REQUEST NO. 159:

         The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer running a version of the MD Trader software connected to a live market.

   RESPONSE TO REQUEST NO. 159:

          Denied.

   REQUEST NO. 160:

           The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes showing a monitor connected to a computer running a version of the MD
   Trader software connected to a live market at the time the particular video tape (from
   which each video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 160:

          Denied.

   REQUEST NO. 161:

          The video clips on the DVD labeled HB000005 show a monitor connected to a
   computer running a version of the software that later became known as MD Trader
   connected to a live market.

   RESPONSE TO REQUEST NO. 161:



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          Denied.

   REQUEST NO. 162:

            The video clips on the DVD labeled HB000005 were taken from one or more
   video tapes showing a monitor connected to a computer running a version of the software
   that later became known as MD Trader connected to a live market at the time the
   particular video tape (from which each video clip was taken) was recorded.

   RESPONSE TO REQUEST NO. 162:

          Denied.



   Date: April 16, 2007                       By:     s/ Jennifer M. Kurcz          _
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                             CERTIFICATE OF SERVICE
          The undersigned hereby certifies that a copy of the foregoing PLAINTIFF
   TRADING TECHNOLOGIES’ RESPONSE TO DEFENDANTS eSPEED AND
   ECCO’S SECOND SET OF REQUESTS FOR ADMISSION was served on April 16,
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